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            SUBSTITUTE EXHIBIT 1
Defendants’ Motion to Dismiss, 2/9/22, ECF No. 20
   Federal Records Center Copy of Memorandum of Decision in
 NSWWP & Sherwood v. S.N.E.T., Co., et al., Civil No. H-74-230 (D.
      Conn. Sept. 30, 1975) (per curiam) (three-judge court)
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                         UNI TED STATES DISTRICT COURT         U. S. DISTRICT COIJRi
                           DISTRI CT OF CONNECTICUT             NEW HAVEN, CONN.



 NATIONAL SOCIALIST WHITE PEO-
 PLE'S PARTY&. FRED SHERWOOD
                                                                           v:~
            -vs-                                       Civil No # .::t4-230

 SOUTHERN NEW ENGLAND TELEPHONE
 COMPANY, CONNECTICUT PUBLI C UTIL-
 ITIES COMMISSION , JOSEPH T. GORM-
 LEY, JOSEPH WALSH , J OHN S . WARD,
 & FRED NEUSNER


          BEFORE:         TIMBERS, Circuit Judge, CLARIE
                          and ZANPANO, District Judges .


                               MEMORANDUM OF DECISION


 PER CURI.AM .

          This c i vil r i ghts a ction was commenced pursuant to

 42 U.S.C . §§ 1983, 1985 and 1987; the jurisdiction of the

Cour t was i nvoked under 28 U.S.C.         §   1343(1) and (3). The
Court i s asked to enj oin t he Southern New England Telephone

Company ( SNETCo) f r om r e fusing phone service to the plain-

 tif fs, who a sk f or t he convening of a three-judge court to

 pa ss u pon and decl are Conn. Gen. Sta t.        §   53-37 to be uncon-
                1/                   .
 stitutional, to enjoin its enforcement and award the plain-

 tiffs damages , cos t s of court and attorney's fees . The Court
 finds tha t the u s e of t he telephone as described cannot be

construed to bP. t he type of advertisement prohibited under

 §   53-37, and accordingl y denies relief and dismisses the ac -
 tion .     l
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                               Facts


            The basic facts of the case are not in dispute. The

     first of three counts in the complaint alleges that at the

     time in question plaintiff Sherwood, a unit leader of the

     National Socialist White People's Party in Bridgeport, con-

     tracted on its behalf for telephone service with SNETCo.       The

     purpose of the phone service was to disseminate certain taped

     political propaganda messages setting forth the party's views

     on current events and public issues. The content of these

     pre-recorded cassette messages were prepared verbatim from

     White Power, thenews'letter published by the George Lincoln

     Rockwell Party, Inc. These tapes were usually replaced weekly.

     The teaching content, ~hich can be described as scurrilous

     at best, included such subjects as the need for the preser-

     vation and advancement of the "Aryan Race"; belief in the

     impossibility and undesirability of "Negro equality"; and

     that the communications media is dominated by "Jewish influ-
         '!-_/
     ence . '.' The second count alleges that a conspiracy existed

     among the defendants for the purpose of depriving the plain-

     tiffs of their constitutional rights, including freedom of

     the press, freedom of speech and the right to petition for

     redress of grievance. The plaintiffs claimed that the de-

     fendants' action was designed to prevent the plaintiffs from

     raising constitutional defenses to the termination of their
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  telephone service or to t he criminalization of their conduct

  in a court of law . The third count alleges that the state ' s

  proposed enforcement of Conn. Gen. Stat .         §   53-37 infringes

  upon plaintiffs' r ights t o freedom of speech and of the press,

  as guaranteed under the first and fourteenth amendments to

  the United S tates Cons ti tution.

          At t he time of the i ncident complained of , Sherwood

  had contracted wi th SNETCo for a business telephone service

  on an auxiliary residence line equipped with automatic an-

  nouncement equipment. The number was unliste9 in the direc-

  tory, but it was available thr ough the information operator.

  The number was published in the Party's newspaper, various

  Party leaflets and "by ·w ord of mouth."

          Upon receiv ing ' a complaint concerning these recordings,

  the Bridgeport Superintendent of Police, Walsh, investigated

  the matter and c oncluded that the message content violated

  Conn . Ge n . Stat. § 53-37. He did not apply for an arrest war-

  rant, but advised SNETCo by letter that the plaintiffs ' tele-

  phone was being u sed i n violation of the law and requested

  that service be discont inued. The Company thereupon advised

  the pla intiffs i n writing of defendant Walsh ' s instructions,

  and explained that as a public utility it was obligated to

  follow "Southern New England Telephone Company Tariff, Part
                               3/
  I, Sheet 4 (A), Nrnnber 2ti.--; 11 which required that phone services
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  furni shed by it should not be used for any unlawful purpose.

  The letter explained that upon receiving such a notification,

  it was required to tenninate service, and it gave the plain-
  tiffs notice that at the end of 14 days, it would do so. Ab-

  sent any i.ntervening action by the plaintiffs , the Company

  accordingly terminated the service on June 17, 1974. The pres -

  ent action was filed on July 25, 1974 by counsel acting in

  the plaintiffs' behalf and retained by. the Connecticut Civil

  Liberties Union.

          At the conclusion of the preliminary hearing on Aug-

 ust 23, 1974, the matter was continued to August 28, 1974,

  at which time the parties entered into a stipulation that

  involved the re-installation of plaintiff Sherwood's telephone

  service . The first and second counts of the complaint were

 withdr a·wn, and plaintiffs agr eed to proceed with their chal-

 lenge to the constitutional ity of§ 53-37 against the de -

 fendant Wal sh only. Plaint iffs ' cl aims for damages were with-

 drawn, and defendant Walsh agreed not to instigate the pro-

 secution of plaintiffs during pendency of this action, while

 reserving _the right to do so in the event that the Court

 should find the stat ute constitutional and enforceable. A

 three-judge Court was then convened and a hearing had on the

 constitutional i ssue on April 18, 1975.
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                                  Law

          Conn . Gen. Stat.   §   53-37 provides:
              Any person who, by his advertisement, ridi-
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          cules or holds up to contempt any person or
          class of persons, on account of the creed, reli-
          gion, color, denomination, nationality or race
          of such person or class of persons ,shall be fined
          not more than fifty dollars or imprisoned not
          more than thirty days or both." (Emphasis added).
          The plaintiff Sherwood contends that the statute,
both on its face and as applied to him, is an uncons titutional
vi.olation of his right to freedom of speech. Any determina-

t i on of this claim would begin with a consideration of the
decision of the United States Supreme Court in Beauharna is v .

Illinois , 343 U.S. 250 (1952) . In that case a divided court
by a 5- 4 vote upheld the constitutionality of an Illinois

"group libel" statute, similar in many respects to the Con-
necticut statute being challenged here. As Judge Bur ger , (now
Chief Justice Burger) said in a later case, Anti- Defamation
League of B' Nai B'Rith 1 PAC. S .W.R . O. v. Federal Communica-

tions Commission, 403 F.2d 169, 174 fn . 5 (D . C. Cir. 1968),

cert . den . March 24, 1969, 89 S . Ct . 1190 , it is doubtful
Beauharnais now represents the Court ' s position on the issues

raised.
             "In Beauharnias v. People of State of Il-
          linois, 343 U. S . 250, 72 S.Ct . 725, 96 L.Ed.
          919 (1952), a divided Supreme Court upheld a
          conviction under a statute outlawing defama-
          tion of a racial or religious group. However,
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          far from spawning progeny, Beauharnais has
          been left more and more barren by subsequent
          First Amendment decisions, to the point where
          it is now doubtful that the decision still re-
          presents the views of the Court."

  See also, Garner v. Louisiana, 368 U.S. 157, 202 (1961), wher e

  the Court said:

             " [W]hen a State seeks to subject to criminal
          sanctions conduct which, except for a demon-
          strated paramount state interest, would b e with-
          in the range of freedom of expression as assured
          by the Fourteenth Amendment, it. cannot do so by
          means of a general and all-inclusive breach of
          the peace prohibition . It must bring the acti-
          vity sought to be proscribed within the ambit
          of a statute or clause 'narrowly drawn to de-
          fine and punish specific conduct as cons tituting
          a clear and present danger to a substantial in-
          terest of the State.' Cantwell v. Connecticut ,
          supra, at 311; Thornhill v . Alabama , 310 U.S.
          88, 105. And of course that interest mus t be a
          l egitimate one. A State may not 'suppre ss free
          communication qf views, r eligious or other, un-
          de r the guise of conserving desirable conditions.'"
          (Footnote omi tted).

          In the context of the present case, however, it is

 unnecessa ry for the Court to reach the question of the con-

 t inuing vitality of Beauharnais or its applicability to the

 situation presented here. It is clear to the Court that

 §   53- 37 was never intended to make criminal the type of con-

 duct engaged in by the plaintiffs , nor has it ever been ap-

 plied in su ch a fashion. Whatever constitutional infirmities

 the statute may contai n, this case is not at present an ap-

 propriate vehic     ~   for their delineation.

          The questioned statute prohibits the ridiculing or

 holding up to contempt of a person or class only when such
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   acts are accomplished by means of "advertisement." The plain-

   tiffs' provision of an answering device which could be acti-

   vated in privacy by the vbluntary selection of a caller does

  · not constitute an "advertisement" within the meaning of the

   statute invoked by the defendant Chief of Police. Although

   §   53-37 has never been authoritatively construed by the Con-

   necticut Supreme Court, and it appears to have been accorded

   extremely sparing application since its enactment in 1917,

   one written decision concerning the statute has been brought

   to the Court's attention. That decision, State of Connecticut

   v. Jensen, (14-th Cir . Ct. Hartford, June 9, 1969, Sant_aniello,

   J.), rests on an interpreatlon consis tent with the one adopted

   by this Court.

            In the Jensen case the Court granted the defendant' s

  motion to quash a criminal information on the ground , that

   the statutory term "advertisement" could not be construed to

   encompass the defendant 's distribution of h andbills purported

   to contain libelous statements. The Court defined "adverti se-

  ment" as "a public notice, u sually paid for , as of things for

   sale, needs, etc. " [which] "relates to a paid article to bring

   the public's attention to something for the purpose of promot-

  ing the sale of the subject matter in question . "

           The State Circuit Court (now merged with the State

  Court of Corrrrnon Pleas) is not an i ntermediate appellate state
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 court, and its decisions are not considered to be the final

 law of the state . However, it does provide the only state

 court precedent interpreting this statute and its decision
 is from a court of record.

           "A state is not without law save as its high-
         est court has declared it. There are many rules
         of decision commonly accepted and acted upon by
         the bar and inferior courts which are neverthe-
         less laws of the state although the highest
         court of the state has never passed upon them.
         In those circumstances a federal court is not
         free to reject the state rule merely because
         it has not received the sanction of the highest
         state court, even though it thinks the rule is
         unsound in principle or that another is prefer-
         able." West v. A.T. & T. Co., 311 U.S. 223,
         236- 7 (19L~O) .
         .
 Also s ee, Six Companies v. Highway Dist., 311 U.S. 180 (1940);

 Stoner v. New York Life Ins. Co., 311 U. S. 464 (1940); Cf.

 King v. Order of Travelers, 333 U.S . 153 (1948).

         The listener~s deliberate choice of seeking a tele-

 phonic political message of this type through a media of

prb,ate communication was never intended to embrace the term

"advertisement," as proscribed in the statute. The Court finds

 that challenged statute does not apply to the type of conduct
engaged in by the plaintiffs .

         The plaintiffs' request for an injunction prohibit-

ing the enforcement of      §   53 .. 37 against them is denied for

the reason that said statute was not intended to reach the

type of activity at issue here and would not be so applied

by judicial authority in the State of Connecticut.
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                 The foregoing opinion shall constitute the findings

            of fact and conclusions of law required to be filed by the

            Court, pursuant to Rule 52(a), Fed. R. Civ. P.                 SO ORDERED.

                                                                        ::lL
                 Dated at Hartford, Connecticut, this              30      day of

            September, 1975.




                                                    , - William H. Timbers
                                                    United States Circuit Judge

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                                                      Emmet Clarie
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                                            Chief United States District Judge




                                                    United States District Judge


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                                    FOOTNOTES


        1/       Senate Bill 153, Chapter 203, approved April 24,
        1917 .


        1/       Plaintiffs' Exhibits 1, 2, 3, and 4.


        ]/     This Tariff which has been on file with the Connec-
        ticut Public Utilities Corrnnission since 1949 provides :
                    "Service will not be furnished if any law
                 enforcement agency, acting within its juris-
                 diction, advis es that such service is being
                 u sed in violation of law or if the Telephone
                 Company receives other evidence that such ser-
                 vice is or lvill be so used ."
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                                  CERTIFICATION

       I hereby certify that on March 1, 2022, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice
of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on
the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF system.




                                           /s/ Dennis M. Carnelli
                                          Dennis M. Carnelli (ct30050)
